Case: 4:16-cr-00440-RLW Doc. #: 308 Filed: 03/20/18 Page: 1 of 2 PageID #: 1533



                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA                     )
     Plaintiff,                              )
                                             )       Case No.: 4:16-CR-00440 RLW
                                             )
                      VS.                    )
                                             )
KEHINDA MITCHELL                             )
     Defendant.                              )

                                            MOTION

       COMES NOW Defendant, and pursuant to Rule 38(b)(2) of the Federal Rules of

Criminal Procedure and requests that the trial court recommend that Defendant remain confined

at the Lincoln County Sheriff’s Department for a reasonable period so that he can assist appellant

counsel in preparing his appeal. In support of his request, Defendant states:

       1. Defendant was sentenced to a term of imprisonment in the Bureau of Prisons on or

           about March 7, 2018

       2. Rule 38(b)(2) of the Federal Rules of Criminal Procedure states that, If defendant is

           not released pending appeal, the court may recommend to the Attorney General that

           the defendant be confined near the place of the trial or appeal for a period reasonable

           necessary to permit the defendant to assist in preparing the appeal.

       3. Defendant has been confined at the Lincoln County Sherriff’s Department for over a

           year.

       4. It is reasonable to assume that Defendant would be better in a better position to assist

           appellate counsel if he was allowed to remain near the place of his appeal for a

           reasonable time period.
Case: 4:16-cr-00440-RLW Doc. #: 308 Filed: 03/20/18 Page: 2 of 2 PageID #: 1534



       WHEREFORE, Defendant prays that this Court, recommend to the Attorney General that

the defendant be confined near the place of the trial or appeal for a ninety (90) days to permit the

defendant to assist in preparing the appeal and for such other and further relief as this Court may

deem appropriate under the circumstances.

                                              Respectfully submitted,

                                                      /s/Raphael Morris II

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                                  CERTIFICATE OF SERVICE

       A copy of the foregoing was sent via the Court’s ECF system this 20th day of March 2018
to Assistant United States Attorney Tracy Berry at her address of record.

                                                             /s/Raphael Morris II

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